Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 1 of 21    FILED
                                                               July 28, 2022
                                                          CLERK, U.S. DISTRICT COURT
                                                          WESTERN DISTRICT OF TEXAS

                                                                         lad
                                                       BY: ________________________________
                                                                               DEPUTY




                                                  6:22-cv-00822
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 2 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 3 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 4 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 5 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 6 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 7 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 8 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 9 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 10 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 11 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 12 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 13 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 14 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 15 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 16 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 17 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 18 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 19 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 20 of 21
Case 6:22-cv-00822-ADA Document 1 Filed 07/28/22 Page 21 of 21
